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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


 STATE OF CALIFORNIA, et al.,

              Plaintiffs,

       v.
                                                C.A. No. ___________________
 LINDA MCMAHON, in her official capacity as
 Secretary of Education, et al.,

              Defendants.
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